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GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C, § 3582(¢)(1)(B) Page | of 2 (Page 2 Not for Public Disclosure)

 

UNITED STATES DISTRICT COURT

for the

Southern District of Georgia
Savannah Division

 

United States of America

v. )
) Case No:  4:07-cr-170-1
Marlon R. Harrison )
) USM No: 09538-021
Date of Original Judgment: November 26, 2007)
Date of Previous Amended Judgment: November 30, 2007 ) Julianne Grow Glisson
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

Upon motion of [X] the defendant [the Director of the Bureau of Prisons [] the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
[X] DENIED. LJGRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of months is reduced to .

(See Page 2 for additional parts. Complete Parts I and I of Page 2 when motion is granted)

 

Except as otherwise provided, all provisions of the judgment dated November 30, 2007, shall remain in effect.
IT IS SO ORDERED.

Order Date: Soy /2, Zo/9F A F701
Judge's signature

Effective Date: William T. Moore, Jr.
Judge, U.S. District Court
(if different from order date) Printed name and title
